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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )       Case No.: 1:18-cr-218 (TSC)
                                               )
MARIIA BUTINA, a/k/a                           )
MARIA BUTINA,                                  )
                                               )
       Defendant.                              )
                                               )

               NOTICE OF CORRECTED FILING REGARDING
       DEFENDANT’S MOTION TO TRANSFER DEFENDANT MARIA BUTINA
                  INTO GENERAL POPULATION HOUSING

       Defendant Maria Butina, by counsel, respectfully notifies the court that in her filing this

afternoon, Defendant indicated that the government, after conferring with the same, has no position

with respect to the relief requested in the pending Motion to Transfer Defendant Maria Butina into

General Population Housing (the “Motion”). (Doc. 57.) The government has since clarified its

position to mean that the government had no position at the time and was still formulating one.

The government has also since informed the undersigned that it opposes the Motion. Defendant

respectfully requests that this court accept this notice and the attached corrected filing.

Dated: November 27, 2018                       Respectfully submitted,


                                                       /s/
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